Case 1:13-cv-04739-RJD-RER Document 26 Filed 05/15/14 Page 1 of 2 PagelD #: 93

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

JOSEPH PETER CANNAVO and s+)
KEY PARK, )
)
Plaintiffs, )
5 CASE NO, 13-cv-04739-RJD-RER
Vv.
)
EXPERIAN INFORMATION )
SOLUTIONS, INC. JURY TRIAL DEMANDED
Defendant.

 

STIPULATION OF DISMISSAL WITH PREJUDICE BETWEEN PLAINTIFF AND
DEFENDANT EXPERIAN INFORMATION SOLUTIONS, INC,

Plaintiffs Joseph Peter Cannavo and Key Park, by counsel, and Defendant Experian
Information Solutions, Inc. (“Experian”), by counsel, hereby stipulate and agree that all matters
herein between them have been compromised and settled, and that Plaintiffs cause against
Experian should be dismissed, with prejudice, with each party to bear its own costs and

attorneys’ fees.

Respectfully Submitted,

Mb,

Dated: May) 4, 2014

 

Kevin Mallon

FISHMAN & MALLON, LLP

305 Broadway, Suite 900

New York, NY 10007

Telephone: 212-822-1474

Email: consumer.esq@outlook.com

Attorney for Plaintiffs FimverthyErmmczansee*
Case 1:13-cv-04739-RJD-RER Document 26 Filed 05/15/14 Page 2 of 2 PagelD #: 94

Dated: May /2 2014

Helena O. Ajudua

JONES DAY

222 East 41" Street

New York, NY 10024
Telephone: 212-326-3939

Email: hoajudua@jonesday.com

Attorneys for Defendant
Experian Information Solutions, Inc.
